                                   United States Bankruptcy Court

  TUCSON DIVISION                                                                      YUMA DIVISION
James A Walsh Courthouse                                                            John M. Roll Courthouse
   3 8 S. Scott Avenue                                                             98 W. 1st Street, Suite 270
   Tucson, AZ 85701                         District of Arizona                        Yuma, AZ 85364
     520-202-7500                                                                       800-556-9230
                                   PHOENIXHEADQUARTERS
                                    230 N. First Avenue, Suite 101
                                       Phoenix AZ 85003-1706
                                           602-682-4000
                                                                                              JUL 2 0 202G

                               CREDITORCHANGE OF ADDRESS


         Case No. :       2:19-bk. 03344. EPB                     Chapter: 7
         case Name:              Smartcomm License Services, LLC,

         Creditor Name:               Vincent Tocco (Tocco Wireless, LLC)


         NEWMailing Address:          1420EBethan                      Home #21
                                     Street Address/P.O. Box Number

                                      APT 21
                                     Suite/Apartment Number

                                      Phoenix                          AZ 85014
                                     City                              State    Zip Code



         OLD Mailing Address:
                                      2030 W Baseline Rd
                                     Street Address/P. O. Box Number



                                     Suite/Apartment Number

                                      Phoenix                          AZ 85041
                                     City                              State    Zip Code



         Creditor Signature:                                                   7- 16-3-03-6
                                                                                       Date




        CreditorAddChng/2/14


  Case 2:19-bk-03344-EPB         Doc 83 Filed 07/20/20 Entered 07/21/20 09:27:14                    Desc
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